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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



Brian Garrett, et al.,

             Plaintiffs,


                                                Civil Action 2:18-cv-692

                                               Judge Michael H. Watson
The Ohio State University,
                                               Magistrate Judge Deavers
             Defendant.




Steve Snyder Hill, et al.,

             Plaintiffs,


      V.                                        Civil Action 2:18-cv-736

                                               Judge Michael H. Watson
The Ohio State University,
                                               Magistrate Judge Deavers
             Defendant.



                              OPINION AND ORDER


      Defendant The Ohio State University ("Ohio State") moves the Court to

enter an order "permitting Ohio State to pubiicly reiease portions of an

independent investigation report which discuss information retrieved from files

obtained from the State Medical Board of Ohio ...Mot., EOF No. 70.          Ohio
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state suggests that it will redact certain Information from the report, Including the

names of former patients and non-Ohio State complainants and witnesses.            Id.

at1.


       Ohio State asserts that release of this Information Is appropriate for several

reasons that can be summarized as follows:

       1. The statements made to the Ohio State Medical Board are an
          "'Invaluable' and 'critical' source of Information regarding Ohio
          Stiate's knowledge of Dr. Strauss' conduct that Is unavailable
          elsewhere."

       2. "R.C. § 4731.22(F)(5) expressly authorizes the Court to take
          appropriate measures to maintain the confidentiality" of
          Information In the Medical Board report.

       3. Ohio State's proposed release of this Information with redactions
          furthers the legislative purpose of R.C. § 4731.22(F)(5) of
          protecting the confidentiality of patients and persons who file
          complaints with the Medical Board.

       4. "[A]ny Interest In confidentiality In the State Medical Board files Is
          outweighed by more Important countervailing public Interests."

Mot. 7-9, ECF No. 70.

       The Class Plaintiffs do not oppose the motion "so long as the unredacted

report Is made available to the Court, to the Mediator, and to all Counsel of

Record, under a 'Highly Confidential—Attorney's Eyes Only' designation."

Class PI. Resp. 1, ECF No. 77.     The Mass Plaintiffs do not oppose the motion

"as long as the ... report (with these limited redactions) Is made available to the




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Court and all counsel of record two business days before it is publicly released."

Mass PI. Resp. 1-2, EOF No. 78.      Ohio State opposes both sets of proposed

conditions.   Reply, EOF No. 84.

      The State Medical Board, appearing as an amicus curiae, asks the Court

to deny Ohio State's motion "because OSU is requesting relief that is not

permitted under the Medical Board's confidentiality statute."    Br. 2, ECF No. 79.

      The statute cited by Ohio State in support of its request for an order

permitting it to release the independent investigation report states the following:

      In a judicial proceeding, the information may be admitted Into
      evidence only In accordance with the Rules of Evidence, but the court
      shall require that appropriate measures are taken to ensure that
      confidentiality is maintained with respect to any part of the information
      that contains names or other identifying information about patients or
      complainants whose confidentiality was protected by the state
      medical board when the Information was in the board's possession.
      Measures to ensure confidentiality that may be taken liy the court
      include sealing its records or deleting specific information from its
      records.

R.C. § 4731.22(F)(5) (emphasis added).

      Ohio State is not, at least at this time, seeking to use the independent

investigation report as evidence in this judicial proceeding.   Instead, Ohio State

wishes to release the report publicly in order to be transparent in its investigation.

See generally Mot., ECF No. 70.     While the Court believes transparency is a

laudable goal in this matter, the Court is not in a position to grant Ohio State the




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permission it seeks.   The Court can set the conditions under which Ohio State

may use the independent investigation report as evidence in this judicial

proceeding, but the Court will not weigh in on whether Ohio State can legally

release the report publicly.   That matter is not for the Court to decide.

      Ohio State's motion, EOF No. 70, is DENIED.

      IT IS SO ORDERED.



                                              /s/Michael H. Watson
                                        MICHAEL H. WATSON, JUDGE
                                        UNITED STATES DISTRICT COURT




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